       Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
ATHENA ART FINANCE CORP.,
                                            Plaintiff,                        Docket No.: 20-cv-4669
                                                                              (GBD)



        -against-                                                             ANSWER AND
                                                                              COUNTERCLAIM
that
CERTAIN ARTWORK BY JEAN-MICHEL BASQUIAT
ENTITLED HUMIDITY, 1982, In Rem,
                                            Defendant,

SATFINANCE INVESTMENT LIMITED and
DELAHUNTY LIMITED d/b/a DELAHUNTY FINE ART,

                                             Interested Parties.
--------------------------------------------------------------------------x

                                                         ANSWER
        Interested Party Delahunty Limited d/b/a Delahunty Fine Art (“Delahunty”), by its

attorneys Clarick Gueron Reisbaum LLP, answers the allegations in Athena Art Finance Corp.’s

(“Plaintiff’s”) Verified Complaint as follows:

                                                   Nature of Claim

        1.       Delahunty admits that Plaintiff purports to assert the claims and to seek the relief

summarized in Paragraph 1 and denies that those claims have merit or that such relief is

appropriate.

        2.       Delahunty denies knowledge or information sufficient to form a belief as to the

truth of the allegation in Paragraph 2.




                                                         1
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 2 of 15




       3.      Paragraph 3 sets forth conclusions of law, not allegations of fact, and therefore

no response is required. To the extent any response is deemed to be required, Delahunty denies

knowledge or information sufficient to form a belief as to the truth of the allegations contained

in Paragraph 3.

       4.      The court document referred to in Paragraph 4 speaks for itself and Delahunty

denies any partial characterization of the document contained in the allegation.

       5.      Paragraph 5 sets forth conclusions of law, not allegations of fact, and therefore

no response is required. To the extent any response is deemed to be required, Delahunty denies

the allegations and expressly denies that Athena is entitled to sell the “Basquiat” painting.

       6.      Delahunty admits that Plaintiff purports to assert the claims and to seek the relief

summarized in Paragraph 6 and denies that those claims have merit or that such relief is

appropriate. Paragraph 6 also sets forth conclusions of law, not allegations of fact, and therefore

no response is required. To the extent any response is deemed to be required, Delahunty denies

the allegations and expressly denies that Athena is entitled to sell the “Basquiat” painting.

                                   Procedural History and Record

       7.      The document referred to in Paragraph 7 speaks for itself and Delahunty denies

any partial characterization of the document contained in the allegation. Delahunty denies

knowledge or information sufficient to form a belief as to the truth of the allegation in

Paragraph 7.

       8.      Delahunty denies knowledge or information sufficient to form a belief as to the

truth of the allegation in Paragraph 8.

       9.      Delahunty denies knowledge or information sufficient to form a belief as to the

truth of the allegation in Paragraph 9.



                                                 2
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 3 of 15




       10.      The document referred to in Paragraph 10 speaks for itself and Delahunty denies

any partial characterization of the document contained in the allegation. Delahunty denies

knowledge or information sufficient to form a belief as to the truth of the allegation in

Paragraph 10.

       11.      The document referred to in Paragraph 11 speaks for itself and Delahunty denies

any partial characterization of the document contained in the allegation. Delahunty denies that

18 Boxwood Green Limited was legally able to pledge the “Basquiat” painting as collateral

because the transfer of the work to 18 Boxwood Green Limited purported to transfer an interest

in the work that Inigo Philbrick Ltd. did not have to transfer, and it was an actual fraudulent

conveyance and a constructive fraudulent conveyance by Inigo Philbrick Ltd.

       12.      Delahunty denies knowledge or information sufficient to form a belief as to the

truth of the allegation in Paragraph 12.

       13.      Delahunty denies knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 13, and further answers as follows:

       a. Delahunty denies knowledge or information sufficient to form a belief as to the truth

             of the allegation in Paragraph 13(a).

       b. Delahunty denies knowledge or information sufficient to form a belief as to the truth

             of the allegation in Paragraph 13(b).

       c. Delahunty denies knowledge or information sufficient to form a belief as to the truth

             of the allegation in Paragraph 13(c).

       d. Delahunty denies knowledge or information sufficient to form a belief as to the truth

             of the allegation in Paragraph 13(d).




                                                     3
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 4 of 15




       e. Delahunty denies knowledge or information sufficient to form a belief as to the truth

             of the allegation in Paragraph 13(e).

       f. The document referred to in Paragraph 13(f) speaks for itself and Delahunty denies

             any partial characterization of the document contained in the allegation.

       14.      Delahunty denies knowledge or information sufficient to form a belief as to the

truth of the allegation contained in the first sentence of Paragraph 14. Delahunty admits the

allegations contained in the second sentence of Paragraph 14.

       15.      Delahunty admits the allegations contained in Paragraph 15.

                                   Third Parties’ Purported Claims

       16.      With respect to the first sentence of Paragraph 16, Delahunty denies knowledge

or information sufficient to form a belief as to the truth of the allegation in that sentence. With

respect to the second sentence in Paragraph 16, Delahunty admits the allegation in that sentence.

With respect to the third sentence in Paragraph 16, the English court’s decision referred to in the

sentence speaks for itself and Delahunty denies any partial characterization of the document

contained in the allegation. With respect to the final sentence in Paragraph 16, Delahunty

admits this allegation.

       17.      Delahunty admits the allegations contained in Paragraph 17.

             Prayer for Relief: Declaration that Athena May Sell the In Rem Defendant

       18.      Delahunty repeats its responses to the Paragraphs 1 through 17 above.

       19.      Paragraph 19 sets forth conclusions of law, not allegations of fact, and therefore

no response is required. To the extent any response is deemed to be required, Delahunty denies

that Plaintiff’s claims have merit or that such relief is appropriate.




                                                     4
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 5 of 15




                                  AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

       20.     The Complaint fails to state a claim upon which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE
       21.     Plaintiff is barred in whole or in part from maintaining this action and recovering

the relief it seeks under the doctrine of unclean hands.

                               THIRD AFFIRMATIVE DEFENSE

       22.     Plaintiff is barred in whole or in part from maintaining this action and recovering

the relief it seeks because 18 Boxwood Green Ltd. did not have the rights to convey to Plaintiff

the “Basquiat” painting on which Plaintiff’s claims rest or any interest in the “Basquiat”

painting, and thus did not lawfully convey any interest in the painting.

       23.     Delahunty reserves the right to rely upon such other affirmative defenses as may

be supported by the facts to be determined by full and complete discovery and reserves the right

to amend these affirmative defenses accordingly.


                                        COUNTERCLAIM

       Interested Party and counterclaim plaintiff Delahunty Fine Arts (“Delahunty”), by its

attorneys Clarick Gueron Reisbaum LLP, asserts a counterclaim against Athena Art Finance

Corp. (“Athena”) as follows:

                                        Nature of the Case

       1.      This is one of several actions arising from a series of fraudulent transactions

engineered by the now-indicted Inigo Philbrick. Unfortunately for Athena, it is the victim of

Philbrick’s fraud in this action, but that does not change the fact that Delahunty is entitled to a




                                                  5
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 6 of 15




declaration that Athena has no security or other interest in the artwork at issue and that

Delahunty is entitled to a declaration that it has a 12.5% interest in that work.

        2.       This action arises out of a title dispute involving a painting by Jean-Michel

Basquiat entitled Humidity (the “Painting”).

        3.       Athena has rushed into Court seeking a declaration that it is entitled to foreclose

upon and sell the Painting.1 But, Athena’s attempt to force a sale of the Painting is a premature

attempt to avoid judicial scrutiny of whether it has any enforceable rights in the work—which it

does not.

        4.       Inigo Philbrick Ltd. (“IPL”)—a company owned and controlled by its namesake,

Inigo Philbrick—acquired the Painting in a private sale from Phillips Auctioneers LLP

(“Phillips”).

        5.       In an agreement governed by English law, IPL then sold a 12.5% beneficial

interest in the Painting to Delahunty, an art dealer based in London, in exchange for $2.75

million.

        6.       IPL, subsequently strapped for cash, used another Inigo Philbrick owned and

controlled shell company, 18 Boxwood Green Ltd. (“18 Boxwood”), to obtain loans of over $13

million from Athena, an art financing company. In exchange for these loans, 18 Boxwood

purported to pledge to Athena a number of valuable artworks as collateral, including the Painting

at issue in this litigation.




1
 See Athena’s Motion for an Order to Show Cause to Permit Immediate Sale of Collateral (ECF
No. 23, July 29, 2020) and supporting affidavit of Wendy Lindstrom (ECF No. 24). Athena’s
motion, which fails to describe the urgency behind its request, fails to include any supporting
Memorandum of Law, and fails to address the bases of Delahunty’s (and Satfinance Investment
Limited’s) claim, is utterly insufficient to obtain an order permitting the immediate sale of the
Painting.
                                                   6
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 7 of 15




          7.     On information and belief, to pledge the collateral to Athena, 18 Boxwood signed

an agreement with IPL pursuant to which IPL purported to sell and/or transfer ownership of the

Painting to 18 Boxwood.

          8.     But this sham transaction was void from the outset and is utterly unenforceable.

The transaction defied Delahunty’s rights in the painting (and apparently the rights of other

Interested Parties too) and was an actual and constructive fraudulent conveyance. IPL had

nothing to give to 18 Boxwood (and certainly not a full interest in the Painting) and, because the

transaction was a sham, 18 Boxwood received nothing from it. In consequence, 18 Boxwood

lacked rights in the Painting and its pledge to Athena could not and did not include the Painting

as collateral.

          9.     When Philbrick’s art fraud scheme publicly imploded, Philbrick and his

companies 18 Boxwood and IPL defaulted on their loan obligations to Athena. Philbrick has

subsequently been charged by federal prosecutors with wire fraud and aggravated identity theft

in connection with his conduct in the art world.

          10.    Delahunty owns no less than a 12.5% beneficial interest in the Painting and has

filed this declaratory judgment action seeking, among other things, a declaration confirming its

rights in and to the Painting and an Order preventing Athena’s wrongful interference with those

rights.

                                 Parties, Jurisdiction, and Venue

          11.    Counterclaim plaintiff Delahunty is an art dealer incorporated in England, with its

principal place of business in London, England.

          12.    Counterclaim defendant Athena is a Delaware corporation with its principal place

of business in New York, New York.



                                                   7
      Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 8 of 15




        13.     This Court has subject matter jurisdiction over Delahunty’s counterclaim pursuant

to the Court’s supplemental jurisdiction, 28 U.S.C. § 1367(b).

        14.     Venue is appropriate pursuant to 28 U.S.C. § 1391 because counterclaim

defendant Athena’s principal place of business is in this District and the Painting that is the

subject of this action is situated in this District as well.2

                                          Statement of Facts

    A. Delahunty Purchases an Interest in the Painting from Inigo Philbrick Ltd.

        15.     In or about June 2016, Philbrick, an art dealer and owner of IPL, approached

Damian Delahunty, the owner and principal of Delahunty, about the opportunity to purchase an

interest in the Painting. All of the communications and meetings between Philbrick and

Delahunty pertaining to this matter occurred in London, where Delahunty was located at all

relevant times and where the parties struck their deal. Indeed, Philbrick and Damian Delahunty

met five or six times to discuss and negotiate the deal, every time meeting at Philbrick’s London

residence.

        16.     In the course of these discussions, Philbrick, on behalf of IPL, represented to

Delahunty that IPL had purchased the Painting in August 2016 for $22 million from SKH

Management Corp. Based on Philbrick’s representations, Delahunty believed that IPL had

purchased the Painting in its name and held full legal and beneficial ownership of and title to the

Painting.

        17.     On November 1, 2016, in an agreement governed by English law, Delahunty

agreed to buy from IPL and IPL (with Philbrick acting on its behalf) agreed to sell to Delahunty



2
  Delahunty reserves all rights with respect to the convenience of this forum and reserves the
right to seek dismiss or stay this action, at a later date, based upon forum non conveniens grounds
in light of developments in the English litigation described, infra, ¶¶ 33-39.
                                                    8
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 9 of 15




a 12.5% interest in the Painting for a total of $2.75 million. This agreement was reflected in an

invoice between Delahunty and IPL, attached to this Counterclaim as Exhibit 1.

       18.     The invoice between Delahunty and IPL provides that Delahunty has purchased

12.5% of the Painting and promised Delahunty “a preferred stake paying 25% of profit above the

joint acquisition price of $22,000,000 USD.”

       19.     On that same day, Delahunty paid $2.53 million to IPL to complete its purchase

of its interest in the Painting. Delahunty provided the remaining $220,000 of the purchase price

by agreeing to forgive a debt IPL owed Delahunty stemming from a prior art transaction.

       20.     As a result of the completion of this transaction, Delahunty obtained at least a

12.5% interest in the Painting.

   B. Delahunty Learns That Philbrick and IPL Defrauded Delahunty and That SIL and
      Athena Also Claim Interests in the Painting

       21.      As it turned out, IPL’s sale to Delahunty was rife with material

misrepresentations and omissions. Contrary to Philbrick’s representations, IPL had not acquired

the Painting for $22 million. Instead, unbeknownst to Delahunty, IPL had acquired the Painting

from Phillips for $12.5 million, pursuant to a private sale agreement dated July 27, 2016.

Moreover, at the time of Delahunty’s purchase, IPL failed to disclose that Philbrick previously

had entered into an agreement with Satfinance Investment Limited (“SIL”), a company owned by

U.K. residents, concerning the Painting. Nor did IPL disclose, subsequently, that it purported to

transfer legal and beneficial ownership to its affiliate 18 Boxwood, which in turn purported to

pledge the Painting as security to Athena.

       22.     While Philbrick’s and IPL’s machinations are complex, none interfere with the

fact that Delahunty purchased and owns at least a 12.5% beneficial interest in the Painting.



                                                 9
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 10 of 15




       23.      First, IPL did not acquire the Painting for $22 million from SKH Management

Corp. Instead, on or about July 27, 2016, IPL acquired the Painting from Phillips for $12.5

million. The source of IPL’s purchase, however, does not impact Delahunty’s rights; nor does

the lower purchase price diminish its rights—if anything, the opposite. (See, infra, ¶ 26.)

       24.        Second, on information and belief, on or about August 11, 2016 (before

Delahunty’s purchase), Inigo Philbrick entered into an undisclosed agreement with SIL (an

agreement to which IPL itself was not a party). On information and belief, under the Philbrick-

SIL agreement, SIL agreed to contribute 50% of the then-reported $18.4 million purchase price

for the Painting (i.e., $9.2 million) in exchange for legal title to, and a 50% beneficial interest in,

the Painting. While the agreement purports to transfer legal title in the Painting to SIL (even

though IPL, not Philbrick, acquired the Painting from Phillips), the agreement recites that the

parties would own the Painting jointly and that they would share any profits and losses from the

sale of the Painting equally.

       25.      On information and belief, under the Philbrick-SIL agreement, SIL also agreed to

provide Philbrick a loan in the amount of $3 million, and these parties further agreed that SIL’s

loan would be senior to Philbrick’s retained 50% beneficial interest in the Painting.

       26.      While SIL has asserted a claim to an interest in the Painting, this claim—to the

extent that it is valid—does not interfere with Delahunty’s 12.5% interest in the Painting:

             a. On the face of the Philbrick-SIL agreement, SIL obtained only a 50% interest in

                the Painting, leaving IPL (on any view) a 50% interest as well, i.e. more than

                enough to convey 12.5% to Delahunty.

             b. In the event that the Court re-writes the transaction to reflect a conveyance to SIL

                proportionate to its investment in the Painting ($9.2 million) based on its actual



                                                  10
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 11 of 15




                purchase price ($12.5 million), such a conversion would provide SIL a 74%

                interest in the Painting, leaving IPL a 26% interest, again more than enough to

                convey 12.5% to Delahunty. (Delahunty reserves the right to assert, on the same

                theory, that its $2.75 million investment in the Painting yielded a 22% interest in

                the Painting, as its investment represented 22% of the actual purchase price.)

             c. While SIL also claims a percentage interest in the Painting based on its alleged $3

                million loan to Philbrick, the loan admittedly is not equity in the Painting so does

                not provide that interest and, in any event, SIL did not timely file a security

                financing statement concerning any purported security interest it may have in the

                Painting before Delahunty made its purchase.

             d. While SIL may claim that the Philbrick-SIL agreement stated that Philbrick ought

                not convey any portion of IPL’s remaining interest to a third party, even if IPL

                breached the Philbrick-SIL agreement by making such a conveyance to

                Delahunty, the conveyance itself remains valid (notwithstanding any claim that

                SIL might have against IPL or Philbrick for breach of contract).

       27.      Third, on information and belief, on March 31, 2017, five months after Delahunty

purchased its interest, Athena entered into a loan and security agreement (“LSA”) with IPL

affiliate 18 Boxwood, a second entity owned, created, and controlled by Philbrick.

       28.      On information and belief, under the LSA, Athena made available to 18 Boxwood

a revolving loan facility of $10 million that was secured by certain works of art. On information

and belief, on May 28, 2018, 18 Boxwood’s loan commitment was increased by $3.5 million,

permitting a total principal amount of up to $13.5 million.




                                                  11
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 12 of 15




          29.   Further, on information and belief, under the LSA on April 7, 2017, 18 Boxwood

purported to pledge to Athena the Painting as collateral for the loan. Upon information and

belief, IPL purported to transfer a full ownership interest in the Painting to 18 Boxwood to

enable the collateral pledge.

          30.   In the instant action, Athena claims that, pursuant to the terms of the LSA and

because 18 Boxwood defaulted on its loans, Athena is entitled to an Order declaring that it may

foreclose on the collateral, including the Painting.

          31.   Athena has no rights to the Painting because 18 Boxwood had no interest to

pledge.

          32.   IPL’s alleged transfer of ownership in the Painting to 18 Boxwood was not valid

and is void, including because: (1) IPL itself did not have legal title to or a 100% interest in the

Painting to transfer to 18 Boxwood, since it previously had transferred a 12.5% interest to

Delahunty and, purportedly, legal title and a 50% interest to SIL; (2) the transaction was an

actual fraudulent conveyance because IPL made the conveyance to 18 Boxwood with intent to

defraud Delahunty, as well as IPL’s other creditors; and (3) the conveyance was a constructive

fraudulent conveyance because it was made without fair consideration and the conveyance

rendered IPL insolvent.

    C. Proceedings in England Related to the Painting

          33.   Following the news of Philbrick’s fraud and subsequent flight, SIL filed a claim

in the High Court of Justice Business and Property Courts of England and Wales against

Philbrick, IPL, 18 Boxwood, and Athena seeking a declaration that SIL had full legal title to and

beneficial interest in the Painting and that Philbrick, IPL, 18 Boxwood, and Athena had no

interest in the Painting.



                                                 12
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 13 of 15




       34.     In November 2019, SIL also sought and obtained injunctive relief in the English

court. The English court ordered Philbrick, IPL, 18 Boxwood, and Athena not to sell, pledge, or

in any way dispose of any interest in the Painting.

       35.     In December 2019, Athena appeared in a limited fashion and challenged the

jurisdiction of the English court to try the claims against it on the basis that the court lacked

personal jurisdiction over it.

       36.     In May 2020, SIL amended its claim in the English court to include Delahunty as

a party and sought a declaration that Delahunty also had no legal or beneficial interest in the

Painting.

       37.     In the English proceeding, Delahunty has answered these claims and has

counterclaimed (i) against SIL seeking a declaration that it does indeed have a beneficial interest

in the Painting and (ii) against Philbrick and IPL for damages and indemnification based on

Philbrick’s fraudulent representations to Delahunty about the Painting.

       38.     In June 2020, the English court issued an order granting Athena’s jurisdictional

challenge. SIL has appealed this decision.

       39.     Accordingly, in the English proceedings, while Athena has prevailed on its

jurisdictional challenge, ongoing litigation continues between SIL, Delahunty, IPL, 18 Boxwood,

and Philbrick to determine the interest and rights of each party in the Painting.

                                  FIRST CAUSE OF ACTION
                                  DECLARATORY JUDGMENT
       40.     Delahunty repeats and realleges the allegations contained in Paragraph 1 through

39 of this Complaint as if fully alleged herein.

       41.     Delahunty purchased and paid in full for a 12.5% interest in the Painting from

IPL, which held a sufficient interest in the Painting to convey to Delahunty the interest it


                                                   13
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 14 of 15




purchased.

        42.     Pursuant to the agreement between Delahunty and IPL, Delahunty acquired an

ownership and/or beneficial interest in the Painting.

        43.     Delahunty did not authorize anyone, including IPL, Philbrick or 18 Boxwood, to

pledge the Painting, or its interest in the Painting, as collateral.

        44.     On information and belief, pursuant to the agreement between SIL and Philbrick,

IPL did not have the authority to transfer SIL’s ownership, beneficial interest, or any other rights

in the Painting to 18 Boxwood.

        45.     Accordingly, any purported transfer of any interest in the Painting from IPL to 18

Boxwood should be void as beyond the scope of IPL’s ownership and/or authority and as an

actual and/or constructive fraudulent conveyance.

        46.     Athena has no security interest in the Painting because the debtor, 18 Boxwood,

did not have rights in the Painting and could not pledge the Painting as collateral.

        47.     A justiciable controversy exists between Athena and Delahunty as to whether

Athena has any valid security interest in or claim to the Painting, or Delahunty’s interest in the

Painting, and declaratory relief that Athena has no rights or interest in the Painting, or, in the

alternative, that Delahunty has a 12.5% interest in the Painting, will effectively resolve this

controversy between Athena and Delahunty.

        48.     Delahunty is hereby entitled to seek a declaratory judgment that Athena has no

interest in the Painting, or, in the alternative, that Delahunty has a 12.5% interest in the Painting.

                                      PRAYER FOR RELIEF

        WHEREFORE, Delahunty respectfully requests a judgment: (1) declaring that Athena

has no rights or interest in the Painting; (2) dismissing and/or staying the remainder of this action



                                                   14
     Case 1:20-cv-04669-GBD-DCF Document 26 Filed 07/30/20 Page 15 of 15




to permit the claims between SIL and Delahunty as to their respective interests in the Painting to

be adjudicated in an English court; (3) should the Court determine to adjudicate the respective

interests of Delahunty in the Painting, declaring that Delahunty has and owns a 12.5% interest in

the Painting; and (4) awarding any other and further relief as the Court may deem just and

proper.


Dated: New York, New York
       July 30, 2020

                                                     CLARICK GUERON REISBAUM LLP


                                                     /s/ Gregory A. Clarick
                                                     Gregory A. Clarick
                                                     Emily A. Weissler
                                                     220 5th Avenue, 14th Floor
                                                     New York, NY 10001
                                                     gclarick@cgr-law.com
                                                     212-633-4310

                                                     Attorneys for Delahunty Fine Arts




                                                15
